Case 3:05-cr-00207-MHT-SRW Document 161 Filed 11/17/06 Page 1 of 6
Case 3:05-cr-00207-MHT-SRW Document 161 Filed 11/17/06 Page 2 of 6
Case 3:05-cr-00207-MHT-SRW Document 161 Filed 11/17/06 Page 3 of 6
Case 3:05-cr-00207-MHT-SRW Document 161 Filed 11/17/06 Page 4 of 6
Case 3:05-cr-00207-MHT-SRW Document 161 Filed 11/17/06 Page 5 of 6
Case 3:05-cr-00207-MHT-SRW Document 161 Filed 11/17/06 Page 6 of 6
